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““* Electronically Recorded Document ****
Kent County
Betty Lou McKenna
Recorder of Deeds
Dover, DE 19901

 

Instrument Number: 2015-283170 Parties:

Recorded As: EREC-MORTGAGE Direct- STOLTZ ANGELA
Recorded On: October 01, 2015 Indirect- MERS AS NOMINEE
Recorded At: 10:38:30 am Receipt Number: f
Number of Pages: 21 Processed By: Patricia Orona
Book-VI/Pg: Bk-RE VI-7807 Pg-1

Total Rec Fee(s): $271.00

** Examined and Charged as Follows **

 

ERec-M $ 231.00 Non Conforming Attach $ 40.00

Tax Amount Consid Amt RS#/CS#

THIS IS CERTIFIED TO BE A TRUE & CORRECT COPY
OF THE RECORDS OF THE
KENT COUNTY DELAWARE RECORDER OF DEEDS

BY: Potricio Drona Date: Jon 0212019

 

 

 

 

| hereby certify that the within and foregoing was recorded in the Recorder's Office in Kent County,

**DO NOT REMOVE-THIS PAGE IS PART OF THE RECORDED DOCUMENT**

hau, Wyelenne

 

 
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femsvilie, TX 75019

After Recording Return To:
NATIONSTAR LLC ATIN:
PC TRAILING DOCUMENTS

40600 HORIZON vey

 

— - Above This Line For Recording Data]
MORTGAGE

DEFINITIONS

Words used in multiple sections of this document are defined below and other words are defined in
Sections 3, 11, 13, 18, 20 and 21. Certain rules regarding the usage of words used in this document
are also provided in Section 16.

(A) "Security Instrument" means this document, which is dated AUGUST 8, 2015 ;
together with all Riders to this document.
(B) “Borrower" is ANGELA STOLTZ, A MARRIED WOMAN

Borrower is the mortgagor under this Security Instrument.

(C) "MERS" is Mortgage Electronic Registration Systems, Inc. MERS is a separate corporation
that is acting solely as a nominee for Lender and Lender's successors and assigns. MERS is the
mortgagee under this Security Instrument. MERS is organized and existing under the laws of
Delaware, and has an address and telephone number of P.O. Box 2026, Flint, MJ 48501-2026, tel.
(888) 679-MERS.

(D) “Lender” is NATIONSTAR MORTGAGE LLC

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Lender is a DELAWARE LIMITED LIABILITY COMPANY organized
and existing under the laws of DELAWARE .
Lender's address is 8950 CYPRESS WATERS BLVD, DALLAS, TEXAS 75019

(E) “Note" means the promissory note signed by Borrower and dated AUGUST 8 :
2015 . The Note states that Borrower owes Lender ONE BONDRED FORTY-TWO THOUSAND
FOOR HUNDRED AND 00/100

Dollars (U.S. $ 142,400.00 ) plus interest. Borrower has promised to pay this debt in
regular Periodic Payments and to pay the debt in full not later than SEPTEMBER 1, 2045 .
(F) “Property" means the property that is described below under the heading "Transfer of Rights
in the Property."

(G) "Loan" means the debt evidenced by the Note, plus interest, any prepayment charges and late
charges due under the Note, and all sums due under this Security Instrument, plus interest.

(H) "Riders" means all Riders to this Security Instrument that are executed by Borrower. The
following Riders are to be executed by Borrower [check box as applicable]:

() Adjustable Rate Rider () Planned Unit Development Rider

(] Balloon Rider () Biweekly Payment Rider
1-4 Family Rider [J Second Home Rider
([] Condominium Rider (J Other(s) [specify]

(I) “Applicable Law" means all controlling applicable federal, state and local statutes, regulations,
ordinances and administrative rules and orders {that have the effect of law) as well as all applicable
final, non-appealable judicial opinions.

(J) “Community Association Dues, Fees, and Assessments" means all dues, fees, assessments and
other charges that are imposed on Borrower or the Property by a condominium association.
homeowners association or similar organization.

(K) "Electronic Funds Transfer" means any transfer of funds, other than a transaction originated
by check, draft, or similar paper instrument, which is initiated through an electronic terminal.
telephonic instrument, computer, or magnetic tape so as to order, instruct, or authorize a financial
institution to debit or credit an account. Such term includes, but is not limited to, point-of-sale
transfers, automated teller machine transactions, transfers initiated by telephone, wire transfers, and
automated clearinghouse transfers.

(L) "Escrow Items" means those items that are described in Section 3.

(M) “Miscellaneous Proceeds" means any compensation, settlement, award of damages, or proceeds
paid by any third party (other than insurance proceeds paid under the coverages described in Section
5) for: (i) damage to, or destruction of, the Property; (ii) condemmation or other taking of all or any
part of the Property; (iii) conveyance in lieu of condemnation or (iv) misrepresentations of, or
omissions as to, the value and/or condition of the Property.

(N) "Mortgage Insurance” means insurance protecting Lender against the nonpayment of, or default
on, the Loan.

(O) "Periodic Payment" means the regularly scheduled amount due for (i) principal and interest under
the Note, plus (ii) any amounts under Section 3 of this Security Instrument.

(P) "RESPA" means the Real Estate Settlement Procedures Act (12 U.S.C. §2601 et seq.) and its
implementing regulation, Regulation X (12 C.F.R. Part 1024), as they might be amended from time

 

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to time, or any additional or successor legislation or regulation that governs the same subject matter.
As used in this Security Instrument, "RESPA" refers to all requirements and restrictions that are
imposed in regard to a “federally related mortgage foan" even if the Loan does not qualify as a
"federally related mortgage loan” under RESPA.

(Q) “Successor in Interest of Borrower" means any party that has taken title to the Property, whether
or not that party has assumed Borrower’ s obligations under the Note and/or this Security Instrument.

TRANSFER OF RIGHTS IN THE PROPERTY

This Security Instrument secures to Lender: (i) the repayment of the Loan, and all renewals,
extensions and modifications of the Note;. arid (ii) the performance of Borrower's covenants and
agreements under this Security Instrument and the Note. For this purpose, Borrower does hereby
mortgage, grant and convey to MERS (solely 2s nominee for Lender and Lender's successors and
assigns) and to the successors and assigns of MERS the following described property located in the

COUNTY of KENT :

(Type of Recording Juriadiction] [Name of Recording Jurisdiction)
SEE LEGAL DESCRIPTION ATTACHED HERETO AND MADE A PART HEREOF AS EXHIBIT "A".
A.P.N. :(6-09-170.16-01-41.00-000)

WH tA-V10, ile Lod 24). 00-00
which currently has the address of 305 WEINER AVENUE
[Street]
HARRINGTON , Delaware 19952 ("Property Address"):
[City} [Zip Code)

TOGETHER WITH all the improvements now or hereafter erected on the property, and al!
easements, appurtenances, and fixtures now or hereafter a part of the property. All replacements and
additions shall also be covered by this Security Instrument. All of the foregoing is referred to in this
Security Instrument as the "Property." Borrower understands and agrees that MERS holds only legal
title to the interests granted by Borrower in this Security Instrument, but, if necessary to comply with
law or custom, MERS (as nominee for Lender and Lender's successors and assigns) has the right: to
exercise any or all of those interests, including, but not limited to, the right to foreclose and sell the
Property; and to take any action required of Lender including, but not limited to, releasing and
canceling this Security Instrument.

BORROWER COVENANTS that Borrower is lawfully seised of the estate hereby conveyed and
has the right to mortgage, grant and convey the Property and that the Property is unencumbered,
except for encumbrances of record. Borrower warrants and will defend generally the title to the
Property against ail claims and demands, subject to any encumbrances of record.

THIS SECURITY INSTRUMENT combines uniform covenants for national use and non-uniform
covenants with limited variations by jurisdiction to constitute a uniform security instrument covering

 

 

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UNIFORM COVENANTS. Borrower and Lender covenant and agree as follows:

1. Payment of Principal, Interest, Escrow Items, Prepayment Charges, and Late Charges.
Borrower shall pay when due the principal of, and interest on, the debt evidenced by the Note and any
prepayment charges and late charges due under the Note. Borrower shall also pay funds for Escrow
Items pursuant to Section 3, Payments due under the Note and this Security Instrument shall be made
in U.S. currency. However, if any check or other instrument received by Lender as payment under
the Note or this Security Instrument is returned to Lender unpaid, Lender may require that any or all
subsequent payments due under the Note and this Security Instrument be made in one or more of the
following forms, as selected by Lender: (a) cash; (b) money order; (c) certified check, bank check,
treasurer's check or cashier's check, provided any such check is drawn upon an institution whose
deposits are insured by a federal agency, instrumentality, or entity; or (d) Electronic Funds Transfer.

Payments are deemed received. by Lender when received at the location designated in the Note or
at such other location as may be designated by Lender in accordance with the notice provisions in
Section L5. Lender may return any payment or partial payment if the payment or partial payments are
insufficient to bring the Loan current. Lender may accept any payment or partial payment insufficient
to bring the Loan current, without waiver of any rights hereunder or prejudice to its rights to refuse
such payment or partial payments in the future, but Lender is not obligated to apply such payments at
the time such payments are accepted. If each Periodic Payment is applied as of its scheduled due date,
then Lender need not pay interest on unapplied funds. Lender may hold such unapplied funds until
Borrower makes payment to bring the Loan current. If Borrower does not do so within a reasonable
period of time, Lender shall either apply such funds or return them to Borrower. Ifnot applied earlier,
such funds will be applied to the outstanding principal balance under the Note immediately prior to
foreclosure. No offset or claim which Borrower might have now or in the future against Lender shall
relieve Borrower from making payments due under the Note and this Security Instrument or
performing the covenants and agreements secured by this Security Instrument.

2. Application of Payments or Proceeds. Except as otherwise described in this Section 2, ail
payments accepted and applied by Lender shall be applied in the following order of priority: (a)
interest due under the Note; (b) principal due under the Note; (c) amounts due under Section 3. Such
payments shall be applied to each Periodic Payment in the order in which it became due. Any
remaining amounts shall be applied first to late charges, second to any other amounts due under this
Security Instrument, and then to reduce the principal balance of the Note.

If Lender receives a payment from Borrower for a delinquent Periodic Payment which includes
a sufficient amount to pay any late charge due, the payment may be applied to the delinquent payment
and the late charge. If more than one Periodic Payment is outstanding, Lender may apply any payment
received from Borrower to the repayment of the Periodic Payments if, and to the extent that, each
payment can be paid in full. To the extent that any excess exists after the payment is applied to the full
payment of one or more Periodic Payments, such excess may be applied to any late charges due.
vowuntary prepayments shall be applied first to any prepayment charges and then as described in the

ote.

Any application of payments, insurance proceeds, or Miscellaneous Proceeds to principal due
under the Note shall not extend or postpone the due date, or change the amount, of the Periodic
Payments.

3. Funds for Escrow Items. Borrower shall pay to Lender on the day Periodic Payments are -
due under the Note, until the Note is paid in full, a sum (the "Funds") to provide for payment of
amounts due for: (a) taxes and assessments and other items which can attain priority over this Security
Instrument as a lien or encumbrance on the Property; (b) leasehold payments or ground rents on the
Property, if any; (c) premiums for any and all insurance required by Lender under Section 5; and (d)
Mortgage Insurance premiums, if any, or any sums payable by Borrower to Lender in lieu of the
payment of Mortgage Insurance premiums in accordance with the provisions of Section 10. These

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items are called “Escrow Items." At origination or at any time during the term of the Loan, Lender
may require that Community Association Dues, Fees, and Assessments, if any, be escrowed by
Borrower, and such dues, fees and assessments shall be an Escrow Stem. Borrower shall promptly
furnish to Lender all notices of amounts to be paid under this Section. Borrower shall pay Lender the
Funds for Escrow Items unless Lender waives Borrower's obligation to pay the Funds for any or all
Escrow Items. Lender may waive Borrower's obligation to pay to Lender Funds for any or all Escrow
Items at any time. Any such waiver may only be in writing. In the event of such waiver, Borrower
shall pay directly, when and where payable, the amounts due for any Escrow Items for which payment
of Funds has been waived by Lender and, if Lender requires, shall furnish to Lender receipts
evidencing such payment within such time period as Lender may require. Borrower's obligation to
make such payments and to provide receipts shall for all purposes be deemed to be a covenant and
agreement contained in this Security Instrument, as the phrase "covenant and agreement" is used in
Section 9. If Borrower is obligated to pay Escrow Items directly, pursuant to a waiver, and Borrower
fails to pay the amount due for an Escrow Item, Lender may exercise its rights under Section 9 and
pay such amount and Borrower shall then be obligated under Section 9 to repay to Lender any such
amount. Lender may revoke the waiver as to any or all Escrow Items at any time by a notice given
in accordance with Section 15 and, upon such revocation, Borrower shall pay to Lender all Funds, and
in such amounts, that are then required under this Section 3.

Lender may, at any time, collect and hold Funds in an amount (2) sufficient to permit Lender to.
apply the Funds at the time specified under RESPA, and (b) not to exceed the maximum amount a
lender can require under RESPA. Lender shall estimate the amount of Funds due on the basis of
current data and reasonable estimates of expenditures of future Escrow Items or otherwise in
accordance with Applicable Law.

The Funds shall be held in an institution whose deposits are insured by a federal agency,
instrumentality, or entity (including Lender, if Lender is an institution whose deposits are so insured)
or in any Federal Home Loan Bank. Lender shall apply the Funds to pay the Escrow Items no later
than the time specified under RESPA. Lender shall not charge Borrower for holding and applying the
Funds, annually analyzing the escrow account, or verifying the Escrow Items, unless Lender pays
Borrower interest on the Funds and Applicable Law permits Lender to make such a charge. Unless
an agreement is made in writing or Applicable Law requires interest to be paid on the Funds, Lender
shall not be required to pay Borrower any interest or earnings on the Funds. Borrower and Lender
can agree in writing, however, that interest shall be paid on the Funds. Lender shall give to Borrower,
without charge, an annual accounting of the Funds as required by RESPA.

If there is a surplus of Funds held in escrow, as defined under RESPA, Lender shali account to
Borrower for the excess funds in accordance with RESPA. If there is a shortage of Funds held in
escrow, as defined under RESPA, Lender shall notify Borrower as required by RESPA, and Borrower
shall pay to Lender the amount necessary to make up the shortage in accordance with RESPA, but in
no more than 12 monthly payments. If there is a deficiency of Funds held in escrow, as defined under
RESPA, Lender shall notify Borrower as required by RESPA, and Borrower shall pay to Lender the
amount necessary to make up the deficiency in accordance with RESPA, but in no more than 12
monthly payments.

Upon payment in full of all sums secured by this Security Instrument, Lender shall promptly
refund to Borrower any Funds held by Lender.

4. Charges; Liens. Borrower shall pay all taxes, assessments, charges, fines, and impositions
attributable to the Property which can attain priority over this Security Instrument, leasehold payments
or ground rents on the Property, if any, and Community Association Dues, Fees, and Assessments,
if any. To the extent that these items are Escrow Items, Borrower shall pay them in the manner
provided in Section 3.

 

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Borrower shall promptly discharge any lien which has priority over this Security Instrument
unless Borrower: (a) agrees in writing to the payment of the obligation secured by the lien in a manner
acceptable to Lender, but only so long as Borrower is performing such agreement; (b) contests the lien
in good faith by, or defends against enforcement of the lien in, legal proceedings which in Lender's
opinion operate to prevent the enforcement of the lien while those proceedings are pending, but only
until such proceedings are concluded; or (c) secures from the holder of the lien an agreement
satisfactory to Lender subordinating the lien to this Security Instrument. If Lender determines that any
part of the Property is subject to a lien which can attain priority over this Security Instrument, Lender
may give Borrower a notice identifying the lien. Within 10 days of the date on which that notice is
given, Borrower shall satisfy the lien or take one or more of the actions set forth above in this Section 4.

Lender may require Borrower to pay a one-time charge for a real estate tax verification and/or
reporting service used by Lender in connection with this Loan.

5. Pr Insurance. Borrower shall keep the improvements now existing or hereafter
erected on the Property insured against loss by fire, hazards included within the term “extended
coverage,“ and any other hazards including, but aot limited to, earthquakes and floods, for which
Lender requires insurance. This insurance shali be maintained in the amounts (including deductible
levels) and for the periods that Lender requires. What Lender requires pursuant to the preceding
sentences can change during the term of the Loan. The insurance carrier providing the insurance shall
be chosen by Borrower subject to Lender's right to disapprove Borrower's choice, which right shall
not be exercised unreasonably. Lender may require Borrower to pay, in connection with this Loan,
either: (a) a one-time charge for flood zone determination, certification and tracking services; or (b)
a one-time charge for flood zone determination and certification services and subsequent charges each
time remappings or similar changes occur which reasonably might affect such determination or
certification. Borrower shall also be responsible for the payment of any fees imposed by the Federal
Emergency Management Agency in connection with the review of any flood zone determination
resulting from an objection by Borrower.

If Borrower fails to maintain any of the coverages described above, Lender may obtain insurance
coverage, at Lender's option and Borrower's expense. Lender is under no obligation to purchase any
particular type or amount of coverage. Therefore, such coverage shall cover Lender, but might or
might not protect Borrower, Borrower's equity in the Property, or the contents of the Property, against
any risk, hazard or Siability and might provide greater or lesser coverage than was previously in effect.
Borrower acknowledges that the cost of the insurance coverage so obtained might significantly exceed
the cost of insurance that Borrower could have obtained. Any amounts disbursed by Lender under this
Section 5 shall become additional debt of Borrower secured by this Security Instrument. These
amounts shall bear interest at the Note rate from the date of disbursement and shall be payable, with
such interest, upon notice from Lender to Borrower requesting payment.

All insurance policies required by Lender and renewals of such policies shall be subject to
Lender’ s right to disapprove such policies, shall include a standard mortgage clause, and shall name
Lender as mortgagee and/or as an additional loss payee. Lender shall have the right to hold the
policies and renewal certificates. If Lender requires, Borrower shall promptly give to Lender all
receipts of paid premiums and renewal notices. If Borrower obtains any form of insurance coverage,

not otherwise required by Lender, for damage to, or destruction of, Property, such policy shail
include a standard mortgage clause and shall name Lender as mortgagee or as an additional toss
payee.

In the event of loss, Borrower shall give prompt notice to the insurance carrier and Lender.
Lender may make proof of loss if not made promptly by Borrower. Unless Lender and Borrower
otherwise agree in writing, any insurance proceeds, whether or not the underlying insurance was
required by Lender, shall be applied to restoration or repair of the Property, ifthe restoration or repair
is economically feasible and Lender's security is not lessened. During such repair and restoration

 

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period, Lender shall have the right to hold such insuraace proceeds until Lender has had an
opportunity to inspect such Property to ensure the work has been completed to Lender's satisfaction,
provided that such inspection shall be undertaken promptly. Lender may disburse proceeds for the
repairs and restoration in a single payment or in a series of progress payments as the work is
completed. Unless an agreement is made in writing or Applicable Law requires interest to be paid on
such insurance proceeds, Lender shall not be required to pay Borrower any interest or earnings on
such proceeds. Fees for public adjusters, or other third parties, retained by Borrower shall not be paid
out of the insurance proceeds and shall be the sole obligation of Borrower. If the restoration or repair
is not economically feasible or Lender's security would be lessened, the insurance proceeds shall be

applied to the sums secured by this Security Instrument, whether or not then due, with the excess, if
any, paid to Borrower. Such insurance proceeds shall be applied in the order provided for in Section 2.

If Borrower abandons the Property, Lender may file, negotiate and settle any available insurance
claim and related matters. If Borrower does not respond within 30 days to a notice from Lender that
the insurance carrier has offered to settle a claim, then Lender may negotiate and settle the claim. The
30-day period will begin when the notice is given, In either event, or if Lender acquires the Property
under Section 22 or otherwise, Borrower hereby assigns to Lender (a) Borrower's rights to any
insurance proceeds in an amount not to exceed the amounts unpaid under the Note or this Security
Instrument, and (b) any other of Borrower's rights (other than the right to any refund of unearned
premiums paid by Borrower) under all insurance policies covering the Property, insofar as such rights
are applicable to the coverage of the Property. Lender may use the insurance proceeds either to repair
or restore the Property or to pay amounts unpaid under the Note or this Security Instrument, whether
or not then due.

6. Occupancy. Borrower shall occupy, establish, and use the Property as Borrower's principal
residence within 60 days after the execution of this Security Instrument and shall continue to occupy
the Property as Borrower's principal residence for at least one year after the date of occupancy, unless
Lender otherwise agrees in writing, which consent shall not be unreasonably withheld, or unless
extenuating circumstances exist which are beyond Borrower's control.

7. Preservation, Maintenance and Protection of the Property; Inspections. Borrower shall
not destroy, damage or impair the Property, allow the Property to deteriorate or commit waste on the
Property. Whether or not Borrower is residing in the Property, Borrower shall maintain the Property
in order to prevent the Property from deteriorating or decreasing in value due to its condition. Unless
it is determined pursuant to Section 5 that repair or restoration is not economically feasible, Borrower
shall promptly repair the Peoperty if damaged to avoid further deterioration or damage. If insurance
or condemnation proceeds are paid in connection with damage to, or the taking of, the Property,
Borrower shall be responsible for repairing or restoring the Property only if Lender has released
proceeds for such purposes. Lender may disburse proceeds for the repairs and restoration ina single
payment or in a series of progress payments as the work is completed. If the insurance or
condemnation proceeds are not sufficient to repair or restore the Property, Borrower is not relieved
of Borrower's obligation for the completion of such repair or restoration.

Lender or its agent may make reasonable entries upon and inspections of the Property. If it has
reasonable cause, Lender may inspect the interior of the improvements on the Property. Lender shail
give Borrower notice at the time of or prior to such an interior inspection specifying such reasonable
cause,

8. Borrower's Loan Application. Borrower shall be in default if, during the Loan application
process, Borrower or any persons or entities acting at the direction of Borrower or with Borrower's
knowledge ot consent gave materially false, misleading, or inaccurate information or statements to
Lender (or failed to provide Lender with material information) in connection with the Loan. Material
representations include, but are not limited to, representations concerning Borrower's occupancy of
the Property as Borrower's principal residence.

 

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5. Protection of Lender's Interest in the Property and Rights Under this Security
Instrument. If (a) Borrower fails to perform the covenants and agreements contained in this Security
Instrument, (b) there is a legal proceeding that might significantly affect Lender's interest in the
Property and/or rights under this Security Instrument (such as a proceeding in bankruptcy, probete,
for condemnation or forfeiture, for enforcement of a lien which may attain priority over this Security
Instrument or to enforce laws or regulations), or {c) Borrower has abandoned the Property, then
Lender may do and pay for whatever is reasonable or appropriate to protect Lender's interest in the
Property and rights under this Security Instrument, including protecting and/or assessing the value of
the Property, and securing and/or repairing the Property. Lender's actions can include, but are not
limited to: (a) paying any sums secured by a lien which has priority over this Security Instrument; (b)
appearing in court; and (c) paying reasonable attorneys’ fees to protect its interest in the Property
and/or rights under this Security Instrument, including its secured position in a bankruptcy proceeding.
Securing the Property includes, but is not limited to, entering the Property to make repairs, change
locks, replace or board up doors and windows, drain water from pipes, climinate building or other
code violations or dangerous conditions, and have utilities turned on or off. Although Lender may take
action under this Section 9, Lender does not have to do so and is not under any duty or obligation to
do so. rf is agreed that Lender incurs no liability for not taking any or all actions authorized under this

Any amounts disbursed by Lender under this Section 9 shall become additional debt of Borrower _
secured by this Security Instrument. These amounts shall bear interest at the Note rate from the date
of disbursement and shall be payable, with such interest, upon notice from Lender to Borrower
requesting payment. ;

If this Security Instrument is on a leasehold, Borrower shall comply with all the provisions of the
lease. Borrower shall not surrender the leasehold estate and interests herein conveyed or terminate or
cance] the ground lease. Borrower shall not, without the express written consent of Lender, alter or
amend the ground lease. If Borrower acquires fee title to the Property, the leasehold and the fee title
shall not merge unless Lender agrees to the merger in writing,

10. Mortgage Insurance. If Lender required Mortgage Insurance as a condition of making the
Loan, Borrower shall pay the premiums required to maintain the Mortgage Insurance in effect. If, for
any reason, the Mortgage Insurance coverage required by Lender ceases to be available from the
mortgage insurer that previously provided such insurance and Borrower was required to make
separately designated payments toward the premiums for Mortgage Insurance, Borrower shall pay the
premiums required to obtain coverage substantially equivalent to the Mortgage Insurance previously
in effect, at a cost substantially equivalent to the cost to Borrower of the Mortgage Insurance
previously in effect, from an alternate mortgage insurer selected by Lender. If substantially equivalent
Mortgage Insurance coverage is not available, Borrower shall continue to pay to Lender the amount
of the separately designated payments that were dus when the insurance coverage ceased to be in
effect. Lender will accept, use and retain these payments as a non-refundable loss reserve in lieu of
Mortgage Insurance. Such loss reserve shall be non-refundable, notwithstanding the fact that the Loan
is ultimately paid in full, and Lender shall not be required to pay Borrower any interest or earnings
on such loss reserve. Lender can no longer require loss reserve payments if Mortgage Insurance
coverage (in the amount and for the period that Lender requires) provided by an insurer selected by
Lender again becomes available, is obtained, and Lender requires separately designated payments
toward the premiums for Mortgage Insurance. If Lender required Mortgage Insurance as a condition
of making the Loan and Borrower was required to make separately designated payments toward the
premiums for Mortgage Insurance, Borrower shali pay the premiums required to maintain Mortgage
Insurance in effect, or to provide a non-refundable loss reserve, until Lender's requirement for
Mortgage Insurance ends in accordance with any written agreement between Borrower and Lender

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providing for such termination or until termination is required by Applicable Law. Nothing in this
Section 10 affects Borrower's obligation to pay interest at the rate provided in the Note.

Mortgage Insurance reimburses Lender {or any entity that purchases the Note) for certain losses
it may incur if Borrower does not repay the Loan as agreed. Borrower is not a party to the Mortgage

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Morigage insurers evaluate their total risk on all such insurance in force from time to time, and
may enter into agreements with other parties that share or modify their risk, or reduce losses. These
agreements are on terms and conditions that are satisfactory to the mortgage insurer and the other party
(or parties) to these agreements. These agreements may require the mortgage insurer to make
payments using any source of funds that the mortgage insurer may have available (which may include
funds obtained from Mortgage Insurance premiums).

As a result of these agreements, Lender, any purchaser of the Note, another insurer, any
reinsurer, any other entity, or any affiliate of any of the foregoing, may receive (directly or indirectly)
amounts that derive from (or might be characterized as) a portion of Borrower's payments for
Mortgage Insurance, in exchange for sharing or modifying the mortgage insurer's risk, or reducing
losses. If such agreement provides ihat an affiliate of Lender takes a share of the insurer's risk in
exchange for a share of the premiums paid to the insurer, the arrangement is often termed "captive
reinsurance.” Further:

(a) Any such agreements will not affect the amounts that Borrower has agreed to pay for
Mortgage Insurance, or any other terms of the Loan. Such agreements will not increase the
amount Borrower will owe for Mortgage Insurance, and they wil] not entitle Borrower to any
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(b) Any such agreements will not affect the rights Borrower has - if any - with respect to the
Mortgage Insurance under the Homeowners Protection Act of 1998 or any other law. These
rights may include the right to receive certain disclosures, ¢o request and obtain cancellation of
the Mortgage Insurance, to have the Mortgage Insurance terminated automatically, and/or to
receive a refund of any Mortgage Insurance premiums that were unearned at the time of such
cancellation or termination.

11. Assigament of Miscellaneous Proceeds; Forfeiture. All Miscellaneous Proceeds are
hereby assigned to and shall be paid to Lender.

If the Property is damaged, such Miscellaneous Proceeds shall be applied to restoration or repair
of the Property, if the restoration or repair is economically feasible and Lender's security is not
lessened. During such repair and restoration period, Lender shall have the right to hold such
Miscellaneous Proceeds until Lender has had an opportunity to inspect such Property to ensure the
work has been completed to Lender's satisfaction, provided that such inspection shall be undertaken
promptly. Lender may pay for the repairs and restoration in a single disbursement or in a series of
progress payments as the work is completed. Unless an agreement is made in writing or Applicable
Law requires interest to be paid on such Miscellaneous Proceeds, Lender shall not be required to pay
Borrower any interest or earnings on such Miscellaneous Proceeds. Ifthe restoration or repair is not
economically feasible or Lender's security would be lessened, the Miscellaneous Proceeds shall be
applied to the sums secured by this Security Instrument, whether or not then due, with the excess, if
anys paid to Borrower. Such Miscellaneous Proceeds shall be applied in the order provided for in

ion 2.

In the event of a total taking, destruction, or loss in value of the Property, the Miscellaneous
Proceeds shall be applied to the sums secured by this Security Instrument, whether or not then due,
with the excess, if any, paid to Borrower.

In the event of a partial taking, destruction, or loss in value of the Property in which the fair
market value of the Property immediately before the partial taking, destruction, or loss in value is
equal to or greater than the amount of the sums secured by this Security Instrument immediately before

 

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the partial taking, destruction, or loss in value, unless Borrower and Lender otherwise agree in
writing, the sums secured by this Security Instrument shall be reduced by the amount of the
Miscelianeous Proceeds multiplied by the following fraction: (a) the total amount of the sums secured
immediately before the partial taking, destruction, or loss in value divided by (b) the fair market value
of the Property immediately before the partial taking, destruction, or Joss in value. Any balance shall
be paid to Borrower.

In the event of a partial taking, destruction, or loss in value of the Property in which the fair
market value of the Property immediately before the partial taking, destruction, or loss in value is less
than the amount of the swms secured immediately before the partial taking, destruction, or loss in
value, unless Borrower and Lender otherwise agree in writing, the Miscellaneous Proceeds shall be
applied to the sums secured by this Security Instrument whether or not the sums are then due.

If the Property is abandoned by Borrower, or if, after notice by Lender to Borrower that the
Opposing Party (as defined in the next sentence) offers to make an award to settle a claim for damages,
Borrower fails to respond to Lender within 30 days after the date the notice is given, Lender is
authorized to collect and apply the Miscellaneous Proceeds either to restoration or repair of the
Property or to the sums secured by this Security Instrument, whether or not then due. "Opposing
Party" means the third party that owes Borrower Miscellaneous Proceeds or the party against whom.
Borrower has a right of action in regard to Miscellaneous Proceeds.

Borrower shall be in default if any action or proceeding, whether civil or criminal, is begun that,
in Lender's judgment, could result in forfeiture of the Property or other material impairment of
Lender's interest in the Property or rights under this Security Instrument. Borrower can cure such a
default and, if acceleration has occurred, reinstate as provided in Section 19, by causing the action or
proceeding to be dismissed with a ruling that, in Lender's judgment, precludes forfeiture of the
Property or other material impairment of Lender's interest in the Property or rights under this Security
Instrument. The proceeds of any awerd or claim for damages that are attributable to the impairment
of Lender's interest in the Property are hereby assigned and shall be paid to Lender.

All Miscellaneous Proceeds that are not applied to restoration or repair of the Property shall be
applied in the order provided for in Section 2.

12. Borrower Not Released; Forbearance By Lender Not a Waiver. Extension of the time
for payment or modification of amortization of the sums secured by this Security Instrument granted
by Lender to Borrower or any Successor in Interest of Borrower shall not operate to release the
liability of Borrower or any Successors in Interest of Borrower. Lender shall not be required to
commence proceedings against any Successor in Interest of Borrower or to refuse to extend time for
payment or otherwise modify amortization of the sums secured by this Security Instrument by reason
of any demand made by the original Borrower or any Successors in Interest of Borrower. Any
forbearance by Lender in exercising any right or remedy including, without limitation, Lender's
acceptance of payments from third persons, entities or Successors in Interest of Borrower or in
amounts less than the amount then due, shall not be a waiver of or preclude the exercise of any right
or remedy.

13, Joint and Several Liability; Co-signers; Successors and Assigns Bound. Borrower
covenants and agrees that Borrower's obligations and liability shall be joint and several. However,
any Borrower who co-signs this Security Instrument but does not execute the Note (a “co-signer”):
(a) is co-signing this Security Instrument only to mortgage, grant and convey the co-signer's interest
in the Property under the terms of this Security Instrument; (b) is not personally obligated to pay the
sums secured by this Security Instrument; and (c) agrees that Lender and any other Borrower can agree
to extend, modify, forbear or make any accommodations with regard to the terms of this Security
Instrument or the Note without the co-signer's consent.

Subject to the provisions of Section 18, any Successor in Interest of Borrower who assumes
Borrower's obligations under this Security Instrument in writing, and is approved by Lender, shall

 

 

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obtain all of Borrower's rights and benefits under this Security Instrument. Borrower shall not be
released from Borrower's obligations and liability under this Security Instrument unless Lender agrees
to such release in writing. The covenants and agreements of this Security Instrument shall bind (except
as provided in Section 20) and benefit the successors and assigns of Lender.

14. Loan Charges. Lender may charge Borrower fees for services performed in connection
with Borrower's default, for the purpose of protecting Lender's interest in the Property and rights
under this Security Instrument, including, but not limited to, attorneys’ fees, property inspection and
valuation fees. In regard to any other fees, the absence of express authority in this Security Instrument
to charge a specific fee to Borrower shall not be construed as a prohibition on the charging of such fee.
Lender may not charge fees that are expressly prohibited by this Security {nstrument or by Applicable

aw.

If the Loan is subject to a law which sets maximum loan charges, and that law is finally
interpreted so that the interest or other loan charges collected or to be collected in connection with the
Loan exceed the permitted limits, then: (a) any such loan charge shall be reduced by the amount
necessary to reduce the charge to the permitted limit; and (b) any sums already collected from
Borrower which exceeded permitted limits will be refunded to Borrower. Lender may choose to make
this refund by reducing the principal owed under the Note or by making a direct payment to Borrower.
If a refund reduces principal, the reduction will be treated as a partial prepayment without any
prepayment charge (whether or not a prepayment charge is provided for under the Note). Borrower's
acceptance of any such refund made by direct payment to Borrower will constitute a waiver of any
right of action Borrower might have arising out of such overcharge.

15. Notices. Ail notices given by Borrower or Lender in connection with this Security
Instrument must be in writing. Any notice to Borrower in connection with this Security Instrument |
shall be deemed to have been given to Borrower when mailed by first class mail or when actually.
delivered to Borrower's notice address if sent by other means. Notice to any one Borrower shall
constitute notice to all Borrowers unless Applicable Law expressly requires otherwise. The notice
address shall be the Property Address unless Borrower has designated a substitute notice address by
notice to Lender. Borrower shall promptly notify Lender of Borrower's change of address. If Lender
specifies a procedure for reporting Borrower's change of address, then Borrower shall only report a
change of address through that specified procedure. There may de only one designated notice address
under this Security Instrument at any one time. Any notice to Lender shal! be given by delivering it
or by mailing it by first class mail to Lender's address stated herein unless Lender has designated
another address by notice to Borrower. Any notice in connection with this Security Instrument shall
not be deemed to have been given to Lender until actually received by Lender. If any notice required
by this Security Instrument is also required under Applicable Law, the Applicable Law requirement
will satisfy the corresponding requirement under this Security Instrument.

16. Governing Law; Severability; Rules of Construction. This Security Instrument shall be
governed by federal law and the law of the jurisdiction in which the Property is located. All rights and
obligations contained in this Security Instrument are subject to any requirements and limitations of
Applicable Law. Applicable Law might explicitly or implicitly allow the parties to agree by contract
or it might be silent, but such silence shall not be construed es a prohibition against agreement by
contract. In the event that any provision or clause of this Security Instrument or the Note conflicts
with Applicable Law, such conflict shall not affect other provisions of this Security Instrument or the
Note which can be given effect without the conflicting provision.

As used in this Security Instrument: (a) words of the masculine gender shall mean and include
corresponding neuter words or words of the feminine gender; (b) words in the singular shall mean and
include the plural and vice versa; and (c) the word "may" gives sole discretion without any obligation

 

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' 17. Borrower's Copy. Borrower shall be given one copy of the Note and of this Security
nstrument.

18. Transfer of the Property or a Beneficial Interest in Borrower. As used in this Section
18, "Interest in the Property” means any legal or beneficial interest in the Property, including, but not
limited to, those beneficial interests transferred in a bond for deed, contract for deed, installment sales
contract or escrow agreement, the intent of which is the transfer of title by Borrower at a future date
to a purchaser.

If all or any part of the Property or any Interest in the Property is sold or transferred (or if
Borrower is not a natural person and a beneficial interest in Borrower is sold or transferred) without
Lender's prior written consent, Lender may require immediate payment in full of all sums secured by
this Security Instrument. However, this option shall not be exercised by Lender if such exercise is
prohibited by Applicable Law.

If Lender exercises this option, Lender shall give Borrower notice of acceleration. The notice
shall provide a period of not less than 30 days from the date the notice is given in accordance with
Section 15 within which Borrower must pay all sums secured by this Security Instrument. If Borrower
fails to pay these sums prior to the expiration of this period, Lender may invoke any remedies
permitted by this Security Instrument without further notice or demand on Borrower,

19. Borrower's Right to Reinstate After Acceleration. If Borrower meets certain conditions,
Borrower shall have the right to have enforcement of this Security Instcument discontinued at any time
prior to the earliest of: (a) five days before sale of the Property pursuant to any power of sale
contained in this Security Instrument; (b) such other period as Applicable Law might specify for the
termination of Borrower's right to reinstate; or (c) entry of a judgment enforcing this Security
Instrument. Those conditions are that Borrower: (a) pays Lender all sums which then would be due
under this Security Instrument and the Note as if no acceleration had occurred; (b) cures any default
of any other covenants or agreements; (c) pays all expenses incurred in enforcing this Security
Instrument, including, but not limited to, reasonable attorneys’ fees, property inspection and valuation
fees, and other fees incurred for the purpose of protecting Lender's interest in the Property and rights
under this Security Instrument; and (d) takes such action as Lender may reasonably require to assure
that Lender's interest in the Property and rights under this Security Instrument, and Borrower's
obligation to pay the sums secured by this Security Instrument, shall continue unchanged. Lender may
require that Borrower pay such reinstatement sums and expenses in one or more of the following
forms, as selected by Lender: (a) cash; (b) money order; (c) certified check, bank check, treasuret’s
check or cashier's check, provided any such check is drawn upon an institution whose deposits are
insured by a federal agency, instrumentality or entity; or (d) Electronic Funds Transfer. Upon
reinstatement by Borrower, this Security Instrument and obligations secured hereby shall remain fully
effective as if no acceleration had occurred. However, this right to reinstate shall not apply in the case
of acceleration under Section 18.

20. Sale of Note; Change of Loan Servicer; Notice of Grievauce. The Note or a partial
interest in the Note (together with this Security Instrument} can be sold one or more times without
prior notice to Borrower. A sale might result in a change in the entity (mown as the “Loan Servicer”)
that collects Periodic Payments due under the Note and this Security Instrument and performs other
mortgage loan servicing obligations under the Note, this Security Instrument, and Applicable Law.
There also might be one or more changes of the Loan Servicer unrelated to a sale of the Note. If there
is a change of the Loan Servicer, Borrower will be given written notice of the change which will state
the name and address of the new Loan Servicer, the address to which payments should be made and
any other information RESPA requires in connection with a notice of transfer of servicing. If the Note
is sold and thereafter the Loan is serviced by a Loan Servicer other than the purchaser of the Note, the
mortgage loan servicing obligations to Borrower will remain with the Loan Servicer or be transferred

 

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to a successor Loan Servicer and are not assumed by the Note purchaser unless otherwise provided
by the Note purchaser.

Neither Borrower nor Lender may commence, join, or be joined to any judicial action (as either
an individual litigant or the member of a class) that arises from the other party's actions pursuant to
this Security Instrument or that alleges that the other party has breached any provision of, or any duty
owed by reason of, this Security Instrument, until such Borrower or Lender has notified the other party
(with such notice given in compliance with the requirements of Section 15) of such alleged breach and
afforded the other party hereto a reasonable period after the giving of such notice to take corrective
action. If Applicable Law provides a time period which must elapse before certain action can be taken,
that time period will be deemed to be reasonable for purposes of this paragraph. The notice of
acceleration and opportunity to cure given to Borrower pursuant to Section 22 and the notice of
acceleration given to Borrower pursuant to Section 18 shall be deemed to satisfy the notice and
opportunity to take corrective action provisions of this Section 20.

21. Hazardous Substances. As used in this Section 21: (a) "Hazardous Substances” are those
substances defined as toxic or hazardous substances, pollutants, or wastes by Environmental Law and
the following substances: gasoline, kerosene, other flammable or toxic petroleura products, toxic
pesticides and herbicides, volatile solvents, materials containing asbestos or formaldehyde, and
radioactive materials; (b) “Environmental Law" means federal laws and laws of the jurisdiction where
the Property is located that relate to health, safety or environmental protection; (c) "Environmental
Cleanup” includes any response action, remedial action, or removal action, as defined in
Environmental Law; and (d) an "Environmental Condition" means a condition that can cause,
contribute to, or otherwise trigger an Environmental Cleanup.

Borrower shall not cause or permit the presence, use, disposal, storage, or release of any
Hazardous Substances, or threaten to release any Hazardous Substances, on or in the Property.
Borrower shall not do, nor allow anyone else to do, anything affecting the Property (a) that is in
violation of any Environmental Law, (b) which creates an Environmental Condition, or (c) which, due
to the presence, use, or release of a Hazardous Substance, creates a condition that adversely affects
the value of the Property, The preceding two sentences shall not apply to the presence, use, or storage
on the Property of smal] quantities of Hazardous Substances that are generally recognized to be
appropriate to normal residential uses and to maintenance of the Property (including, but not limited
to, hazardous substances in consumer products).

Borrower shall promptly give Lender written notice of (a) any investigation, claim, demand,
lawsuit or other action by any governmental or regulatory agency or private party involving the
Property and any Hazardous Substance or Environmental Law of which Borrower has actual
knowledge, (b) any Environmental Condition, including but not limited to, any spilling, teaking,
discharge, releasé or threat of release of amy Hazardous Substance, and (c) any condition caused by
the presence, use or release of a Hazardous Substance which adversely affects the value of the
Property. If Borrower learns, or is notified by any governmental or regulatory authority, or any
private party, that any removal or other remediation of any Hazardous Substance affecting the Property
is necessary, Borrower shall promptly take all necessary remedial actions in accordance with
Environmental Law. Nothing herein shali create any obligation on Lender for an Environmental

leanup.

NON-UNIFORM COVENANTS. Borrower and Lender further covenant and agree as follows:

22. Acceleration; Remedies. Lender shall give notice to Borrower prior to acceleration
following Borrower's breach of any covenant or agreement in this Security Instrument (but not
prior to acceleration under Section 18 unless Applicable Law provides otherwise). The notice
shall specify: (a) the default; (b) the action required to cure the default; (c) a date, not less than
30 days from the date the notice is given to Borrower, by which the default must be cured; and

 

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(d) that failure to cure the default on or before the date specified in the notice may result in
acceleration. of the sums secured by this Security Instrwment, foreclosure by judicial proceeding
and sale of the Property. The notice shall further inform Borrower of the right to reinstate after
acceleration and the right to assert in the foreclosure proceeding the non-existence of a default

or any other defense of Borrower to acceleration and foreclosure. If the default is not cured on
or before the date specified in the notice, Lender at its option may require immediate payment
in full of ali sums secured by this Security Instrument without further demand and may foreclose
this Security Instrument by judicial proceeding. Lender shail be entitled to collect all expenses
incurred in pursuing the remedies provided in this Section 22, including, but not limited to,
attorneys’ fees of 5.000 % of the amount decreed for principal and interest (which fees
shall be allowed and paid as part of the decree of judgment) and costs of title evidence.

23. Satisfaction. Upon payment of all sums secured by this Security Instrument, this Security
Instrument shall cease and become void and of no effect and Lender shail cause the entry of satisfaction
to be made upon the records of this Security Instrument. Borrower shall pay all costs and fees for
entering the satisfaction upon the records of this Security Instrument. Lender may charge Borrower
a fee for entering the satisfaction, but only if the fee is paid to a third party for services rendered and
the charging of the fee is permitted under Applicable Law.

24. Future Advances. This Security Instrument secures a maximum amount of up to 150%
of the amount of the Note. This Security Instrument shall secure any additional Joans as well as any
and all present or future advances and readvances under the Note made by Lender to or for the benefit
of Borrower or the Property, all of which shall be entitled to the benefits of this Security Instrument
under 25 Del. Code § 2118 and shall have the same lien priority as if the future loans, advances or
readvances were made as of the date hereof including, without limitation: (a) principal, interest, late
charges, fees and other amounts due under the Note or this Security Instrument, (b) all advances by
Lender to Borrower or any otber person to pay costs of erection, construction, alteration, repair,
restoration, maintenance and completion of any improvements on the Property; (c) all advances made
or costs incurred by Borrower for the payment of real estate taxes, assessments or other governmental
charges, maintenance charges, insurance premiums, appraisal charges, environmental inspection, audit,
testing or compliance costs, and costs incurred by Lender for the enforcement and protection of the
Property or the lien of this Security Instrument; and (d) all legal fees, costs and other expenses
incurred by Lender by reason of any default or otherwise in connection with the Note. Borrower
agrees that if, at any time during the term of this Security Instrument or following a foreclosure hereof,
Borrower fails to perform or observe any covenant or obligation under this Security Instrument
including, without limitation, payment of any of the foregoing, Lender may (but shall not be obligated
to) take such steps as are reasonably necessary to remedy any such nonperformance or nonobservance
and provide payment thereof. All amounts advanced by Lender shall be added to the amount secured
by this Security Instrument and shall be due and payable promptly after demand, together with interest
at the rate of interest in effect under the Note, such interest to be calculated fram the date of such
advance to the date of repayment thereof. Borrower's obligations hereunder shal] be continuing and
shall survive notwithstanding a foreclosure of this Security Instrument.

 

 

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BY SIGNING BELOW, Borrower accepts and agrees to the terms and covenants contained in this
Security Instrument and in any Rider executed by Borrower and recorded with it.

 

 

 

 

 

 

 

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State of MARYLAND

County of _KENT
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by —ANGELA STOLTZ

 

 

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Loan Originator: Kevin LaDon Carter, NvLsR 1p
Loan Originator Organization: Nat lonstar Mortgage LLC, NMLSR ID nz
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EXHIBIT “A”

All that certain lot, piece or parcel of land, with the improvements thereon erected,
situated in the City of Harrington, Kent County, State of Delaware, lying on the westerly
side of Weiner Avenue, at short distance North of Center Street and being more
particularly bounded and described in accordance with a recent survey by Robert L.
Larimore, RLS, dated June 28, 2006, as follows to-wit:

Beginning at a drill hole found in the back of the sidewalk in the reputed to be westerly
line of Weiner Avenue, at a corner for this lot and for lands of Mary Ann Wilson, said
point being located 158 feet more or less North of the center line of Center Street; thence
from said beginning point along the line of lands of Mary Ann Wilson, North 88 deg. 10
min. 20 sec. West 284.12 feet to an iron pin found at a comer for lands of Mary Ann
Wilson in the easterly line of a 10 foot wide alley; thence along the easterly line of said
10 foot wide alley, North 01 deg. 38 min. 07 sec. Bast 45.00 feet to an iron pin found in
the easterly line of said 10 foot wide alley at a corner for lands of Leona A. Ottinger;
thence along the line of lands of Leona A. Ottinger, South 88 deg. 10 min. 20 sec. East
284.27 feet to an iron pin found at a corner for lands of Leona A. Ottinger near the back
line of the sidewalk in the westerly line of Weiner Avenue; thence along the westerly line
of Weiner Avenue, South 01 deg. 49 min. 35 sec. West 45.00 feet fo the place of
beginning and containing 12,789 square feet of land be the same more or less.

Commonly known as: 305 Weiner Avenue, Harrington, DE 19952

Parcel 1D #: MN-09-170.16-01-41.00-000
(Parcel ID #: 6-09-170.16-01-41.00-000)

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1-4 FAMILY RIDER
(Assignment of Rents).

THIS 1-4 FAMILY RIDER is made this sth day of AUGUST, 2015 ,
and is incorporated into and shall be deemed to amend and supplement the Mortgage, Deed of
Trust, or Security Deed (the "Security Instrument") of the same date given by the undersigned
(the "Borrower") to secure Borrower's Note to NATIONSTAR MORTGAGE LLC, A
DELAWARE LIMITED LIABILITY COMPANY
(the "Lender") of the same date and covering the Property described in the Security Instrument
and located at:

305 WEINER AVENUE, HARRINGTON, DELAWARE 19952
[Property Address}

1-4 FAMILY COVENANTS. In addition to the covenants and agreements made in
the Security Instrument, Borrower and Lender further covenant and agree as follows:

A. ADDITIONAL PROPERTY SUBJECT TO THE SECURITY
INSTRUMENT. In addition to the Property described in Security Instrument, the
following items now or hereafter attached to the Property to the extent they are
fixtures are added to the Property description, and shall also constitute the Property
covered by the Security Instrument: building materials, appliances and goods of
every nature whatsoever now or hereafter located in, on, or used, or intended to
be used in connection with the Property, including, but not limited to, those for the
purposes of supplying or distributing heating, cooling, electricity, gas, water, air
and light, fire prevention and extinguishing apparatus, security and access control
apparatus, plumbing, bath tubs, water heaters, water closets, sinks, ranges, stoves,
refrigerators, dishwashers, disposals, washers, dryers, awnings, storm windows,
storm doors, screens, blinds, shades, curtains and curtain rods, attached mirrors,
cabinets, paneling and attached floor coverings, all of which, including
replacements and additions thereto, shall be deemed to be and remain a part of the
Property covered by the Security Instrument. All of the foregoing together with
the Property described in the Security Instrument (or the leasehold estate if the
Security Instrument is on a leasehold) are referred to in this 1-4 Family Rider and
the Security Instrument as the "Property."

B. USE OF PROPERTY; COMPLIANCE WITH LAW. Borrower shall not
seek, agree to or make a change in the use of the Property or its zoning
classification, unless Lender has agreed in writing to the change. Borrower shall
comply with all laws, ordinances, regulations and requirements of any
governmental body applicable to the Property.

 

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C. SUBORDINATE LIENS. Except as permitted by federal law, Borrower
shall not allow any lien inferior to the Security Instrument to be perfected against
the Property without Lender's prior written permission.

D. RENTLOSS INSURANCE. Borrower shall maintain insurance against rent
loss in addition to the other hazards for which insurance is required by Section 5.

E. "BORROWER'S RIGHT TO REINSTATE™ DELETED. Section 19 is
deleted.

F. BORROWER'S OCCUPANCY. Untess Lender and Borrower otherwise
agree in writing, Section 6 concerning Borrower's occupancy of the Property is
deleted.

G. ASSIGNMENT OF LEASES. Upon Lender's request after default,
Borrower shall assign to Lender all leases of the Property and al! security deposits
made in connection with leases of the Property. Upon the assignment, Lender shall
have the right to modify, extend or terminate the existing leases and to execute new
leases, in Lender's sole discretion. As used in this paragraph G, the word "lease"
shall mean "sublease" if the Security Instrument is on a leasehold.

H. ASSIGNMENT OF RENTS; APPOINTMENT OF RECEIVER;LENDERIN
POSSESSION. Borrower absolutely and unconditionally assigns and transfers to
Lender all the rents and revenues ("Rents") of the Property, regardless of to whom
the Rents of the Property are payable. Borrower authorizes Lender or Lender's
agents to collect the Rents, and agrees that each tenant of the Property shall pay the
Rents to Lender or Lender's agents. However, Borrower shall receive the Rents
until (i) Lender has given Borrower notice of default pursuant to Section 22 of the
Security Instrument and (ii) Lender has given notice to the tenant(s) that the Rents
are to be paid to Lender or Lender's agent. This assignment of Rents constitutes
an absolute assignment and not an assignment for additional security only.

If Lender gives notice of default to Borrower: (i) all Rents received by
Borrower shall be held by Borrower as trustee for the benefit of Lender only, to
be applied to the sums secured by the Security Instrument; (ii) Lender shall be
entitled to collect and receive all of the Rents of the Property; (ili) Borrower agrees
that each tenant of the Property shall pay all Rents due and unpaid to Lender or
Lender's agents upon Lender's written demand to the tenant; (iv) unless applicable
law provides otherwise, all Rents collected by Lender or Lender's agents shall be
applied first to the costs of taking control of and managing the Property and
collecting the Rents, including, but not limited to, attorney's fees, receiver's fees,
premiums on receiver's bonds, repair and maintenance costs, insurance premiums,
taxes, assessments and other charges on the Property, and then to the sums secured
by the Security Instrument; (v) Lender, Lender's agents or any judicially appointed
receiver shall be liable to account for only those Rents actually received; and (vi)
Lender shall be entitled to have a receiver appointed to take possession of and

 

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manage the Property and collect the Rents and profits derived from the Property
without any showing as to the inadequacy of the Property as security.

If the Rents of the Property are not sufficient to cover the costs of taking
control of and managing the Property and of collecting the Rents any funds
expended by Lender for such purposes shall become indebtedness of Borrower to
Lender secured by the Security Instrument pursuant to Section 9.

Borrower represents and warrants that Borrower has not executed any prior
assignment of the Rents and has not performed, and will not perform, any act that
would prevent Lender from exercising its rights under this paragraph.

Lender, or Lender's agents or a judicially appointed receiver, shall not be
required to enter upon, take contre] of or maintain the Property before or after
giving notice of default to Borrower. However, Lender, or Lender's agents or a
judicially appointed receiver, may do so at any time when a default occurs. Any
application of Rents shall not cure or waive any default or invalidate any other
right or remedy of Lender. This assignment of Rents of the Property shall
terminate when all the sums secured by the Security Instrument are paid in full.

1. CROSS-DEFAULT PROVISION. Borrower's default or breach under any
note or agreement in which Lender has an interest shall be a breach under the
Security Instrument and Lender may invoke any of the remedies permitted by the
Security Instrument.

BY SIGNING BELOW, Borrower accepts and agrees to the terms and covenants

contained in this 1-4 Family Rider.

 

 

 

 

 

 

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